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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Prinzo & Associates, LLC, v.                   Case Number: 1:20-CV-3256
            BMO Harris Bank N.A.

An appearance is hereby filed by the undersigned as attorney for:
BMO Harris Bank N.A.
Attorney name (type or print): Jeffrey Jamison

Firm: BMO Harris Bank N.A.

Street address: 111 West Monroe

City/State/Zip: Chicago, IL 60603

Bar ID Number: 6289825                                     Telephone Number: 312-515-0446
(See item 3 in instructions)

Email Address: jeffrey.jamison@bmo.com

Are you acting as lead counsel in this case?                                    ✔ Yes                  No

Are you acting as local counsel in this case?                                         Yes        ✔ No
Are you a member of the court’s trial bar?                                            Yes        ✔ No
If this case reaches trial, will you act as the trial attorney?                 ✔ Yes                  No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 6/17/2020
                                  jeffrey.jamison@bmo.co                  Digitally signed by jeffrey.jamison@bmo.com
                                                                          DN: cn=jeffrey.jamison@bmo.com
Attorney signature:            S/ m                                       Date: 2020.06.17 08:27:02 -05'00'
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                                  Revised 8/1/2015
